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                             UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


  NETLIST, INC.,                             )
                                             )
              Plaintiff,                     )
                                             )    Case No. 2:22-cv-293-JRG
        vs.                                  )
                                             )    JURY TRIAL DEMANDED
  SAMSUNG ELECTRONICS CO, LTD;               )    (Lead Case)
  SAMSUNG ELECTRONICS AMERICA,               )
  INC.; SAMSUNG SEMICONDUCTOR                )
  INC.,                                      )
                                             )
              Defendants.                    )

  NETLIST, INC.,                             )
                                             )
              Plaintiff,                     )
                                             )
                                                  Case No. 2:22-cv-294-JRG
        vs.                                  )
                                             )
                                                  JURY TRIAL DEMANDED
  MICRON TECHNOLOGY, INC.;                   )
  MICRON SEMICONDUCTOR                       )
  PRODUCTS, INC.; MICRON                     )
  TECHNOLOGY TEXAS LLC,                      )
                                             )
              Defendants.                    )


               Unopposed Motion to Continue Claim Construction Hearing
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         1.      Plaintiff Netlist, Inc. (“Netlist”) respectfully requests a brief continuance of the claim

 construction hearing from its current setting on October 5, 2023 to October 17, 2023 or the next

 available date for the Court, because Netlist’s lead counsel is expected to be in trial in the Western

 District of Texas during the current setting. Defendants1 do not oppose the requested relief.

         2.      The claim construction hearing in this Action is currently set for October 5, 2023 at

 9:00 a.m. Dkt. 55 at 3.

         3.      Mr. Sheasby has direct trial scheduling conflicts with the currently set hearing date.

 Mr. Sheasby is scheduled to be in trial in another matter beginning on October 2, 2023, and expected

 to last until October 9, 2023.

         4.      The oversight in failing to detect the conflict entirely rests on Mr. Sheasby and he takes

 full responsibility for the delay in apprising the Court.

         5.      Netlist alerted Defendants about this conflict on August 15, 2023. Netlist informed

 counsel for Defendants via email of this scheduling conflict, and Netlist’s request to continue the

 hearing to October 17, 2023 or the next convenient date for the Court. Counsel for Netlist also

 inquired if alternative dates could work for Defendants. On August 21, 2023, Netlist followed up via

 email with counsel for Defendants to inquire again whether Defendants were amenable to jointly

 requesting that the Court continue the claim construction hearing in light of the above scheduling

 conflict. On August 23, 2023, counsel for Defendants responded that they would not oppose

 requesting that the Court move the hearing to October 17, 2023, assuming that the Court is available

 on that date.

         6.      Netlist understands that continuing the date of the claim construction hearing requires


         1
           The Samsung Defendants are Samsung Electronics Co., Ltd., Samsung Electronics America,
 Inc., and Samsung Semiconductor, Inc.; the Micron Defendants are Micron Technology, Inc.; Micron
 Semiconductor Products, Inc.; Micron Technology Texas LLC.




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 a showing of good cause. Dkt. 55 at 3-4. As noted above, Mr. Sheasby’s trial commitment creates a

 direct conflict with the October 5, 2023 hearing date. As a result, Mr. Sheasby would be unable to

 argue on behalf of Netlist at the claim construction hearing. Mr. Sheasby has been involved in every

 step of the claim construction process in this case, including the crafting of Netlist’s proposed

 constructions, preparation of Netlist’s disclosures under the patent local rules, and the drafting of

 Netlist’s opening brief (currently due August 24, 2023). Dkt. 55 at 3. Mr. Sheasby also took the

 deposition of Micron’s claim construction expert, Dr. Harold Stone, on August 18, 2023. Given Mr.

 Sheasby’s familiarity with the claim construction issues in this case, Netlist would be substantially

 prejudiced if the current hearing schedule is maintained. Netlist’s request to move these hearing dates

 is not a litigation tactic. Netlist’s requested relief would not affect the deadlines for expert reports or

 pre-trial motions.

         7.      For the foregoing reasons, Netlist respectfully requests that the Court continue the

 claim construction hearing from its current setting on October 5, 2023 to October 17, 2023 or the

 next convenient date for the Court.

 Dated: August 23, 2023                               Respectfully submitted,

                                                      /s/Jason Sheasby

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                                     CERTIFICATE OF SERVICE

           I hereby certify that, on August 23, 2023, a copy of the foregoing was served to all counsel of
 record.

                                                          /s/ Jason Sheasby____
                                                          Jason Sheasby

                                 CERTIFICATE OF CONFERENCE

           The undersigned hereby certifies pursuant to Local Rule CV-7(h) that the relief requested in

 this motion is unopposed.


                                                          /s/ Jason Sheasby____
                                                          Jason Sheasby
